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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF ARKANSAS
                            WESTERN DIVISION


UNITED STATES OF AMERICA                                                      PETITIONER

v.                           CASE NO. 4:14CR00008-11 BSM

ROY WEATHERSPOON                                                             RESPONDENT

                                          ORDER

       The clerk of the court is directed to update defendant’s last name from Witherspoon

to Weatherspoon, his true last name. All future filings will therefore reflect the correct name

of defendant as Roy Weatherspoon.

       IT IS SO ORDERED this 19th of June 2015.




                                                   UNITED STATES DISTRICT JUDGE
